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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION



UNITED STATES OF AMERICA,               §
                                        §
                    Plaintiff,          §
                                        §
v.                                      §         CRIMINAL NUMBER H-04-025
                                        §
RICHARD A. CAUSEY, JEFFREY K.           §
SKILLING, and KENNETH L. LAY,           §
                                        §
                    Defendants.         §



                         MEMORANDUM OPINION AND ORDER



       Pending before the court is defendant Jeffrey Skilling’s

Motion to Compel Production of Exculpatory and Rule 16 Materials

(Docket Entry No. 335), in which defendants Kenneth L. Lay and

Richard    Causey    have   joined   (Docket    Entry   No.   350).    Having

carefully considered the motion,            the government’s Memorandum of

Law in Response, and Skilling’s Reply, the court rules as follows.


                                      I.

       Skilling asks that the government be required to identify and

disclose immediately contact information about eleven confidential

sources discussed in the Affidavit of FBI Special Agent Omer J.

Meisel, filed on October 2, 2002, in support of the criminal

complaint filed against Andrew Fastow.           Skilling argues that this
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information is required to be disclosed under the three-factor test

announced    by   the   United   States    Supreme   Court   in    Roviaro   v.

United States, 77 S.Ct. 623 (1957).           The court is not persuaded

that Roviaro applies because the witnesses referred to by agent

Meisel do not appear to be informants.          As explained by the Fifth

Circuit in Gordon v. United States, 438 F.2d 858, 875 (5th Cir.

1971),

         . . . As we understand the term, persons who supply
         information only after being interviewed by police
         officers, or who give information as witnesses during
         the course of an investigation, are not informers.

         Skilling has not shown that the persons interviewed by agent

Meisel were working for the government at the time of the allegedly

illegal events involving Fastow.           Instead, it appears that they

provided     information    to    the     government    during     its   later

investigation of Fastow’s criminal activity.            However, since the

identities of these witnesses are not protected by the informer’s

privilege,    they   are   subject   to    disclosure   by   the   government

pursuant to the court’s Scheduling Order.


                                     II.

         Skilling argues that the government suppressed the existence

and contents of its 1A Index and should now be required to produce

additional documentary evidence identified in that index.                    The

court concludes that the following relief is warranted.



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      1.   The government is ORDERED to produce for the
           court’s in camera review by 2:00 p.m. on June 29,
           2005, the documents listed on page 97 of the 1A
           Index and document DOL 1A 23.

      2.   Handwritten notes created by the government’s
           witnesses are discoverable as Jencks Act material
           and potentially as Giglio material and will be
           produced by the government pursuant to the court’s
           Scheduling Order.

All other relief sought by Skilling in connection with the 1A Index

is DENIED.


                                   III.

      Skilling argues that the government has suppressed critical

computer evidence.     The government is ORDERED to advise defense

counsel and the court by July 14, 2005, whether Michael Kopper will

assert any privilege with respect to information contained on the

four computers returned to him by the government.         If no privilege

is asserted, counsel for the government, Kopper, and defendants

will promptly arrange to provide defense counsel access to the

computers. The court is not persuaded that any of Skilling’s other

arguments regarding suppressed computer evidence warrant relief.


                                   IV.

      Skilling complains that the government has not been diligent

in identifying “hot documents.”      Among other things, Skilling asks

that the court order the government to provide an index separately

identifying each hot document that has been and will be produced.



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The government objects to providing such an index, arguing that

Skilling is essentially asking the court to act as a special master

over the government’s discovery process.

      The court is persuaded that all parties and the court would

benefit from a uniform index of hot documents.                    The court can

envision a number of scenarios in which defendants may argue that

a document was not previously made available to them.               Rather than

delaying the trial so that the government can attempt to identify

the reference to a particular hot document in one of its many

letters to defense counsel, the court believes it would be helpful

to have available for ready reference an index of all hot documents

produced.

      The court will discuss with counsel the particulars of such

an index, including the format and timing of its preparation, at

the June 30, 2005, conference.


                                       V.

      Skilling complains that the government is withholding plea

agreements, cooperation agreements, and other communications with

witnesses.        The government responds that all of the plea and

cooperation agreements for the government’s principal witnesses are

publicly    available   documents      filed   with   the   court,    and   that

Skilling    has    access   to   the   transcripts    of    the    guilty   plea

colloquies of those witnesses who have pleaded guilty.                The court

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also   understands   the    government’s          response    to   include   the

government’s commitment to produce all non-public plea agreements,

cooperation     agreements,        non-prosecution      agreements,     proffer

agreements, and similar agreements between the government and its

witnesses when the government produces its Jencks Act material

pursuant to the court’s Scheduling Order on December 9, 2005.

(Government’s    Response     at    pages    28   and   29)    Accepting     that

representation by the government, the court is not persuaded that

Skilling is entitled now to the production of such agreements.

       Except as ordered in this Memorandum Opinion and Order and in

previous orders of the court, all other relief sought in defendant

Jeffrey Skilling’s Motion to Compel Production of Exculpatory and

Rule 16 Materials (Docket Entry No. 335) is DENIED.

       SIGNED at Houston, Texas, on this 27th day of June, 2005.




                                              ____________________________
                                                        SIM LAKE
                                              UNITED STATES DISTRICT JUDGE




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